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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vv. Case No. 1:21-cr-120-RCL

SCOTT KEVIN FAIRLAMB,

Defendant.

 

ORDER

Pursuant Defendant Scott Kevin Fairlamb’s letter received in chambers, Fairlamb’s pro se
motion for compassionate release and his pro se motion for appointment of counsel shall be filed
on the docket in this case. It is ORDERED that Fairlamb’s pro se motion for appointment of
counsel be GRANTED. The Federal Public Defender is hereby designated as counsel. The Federal
Public Defender shall file any supplement to or memorandum in support of Fairlamb’s pro se
motion for compassionate release by May 5, 2023. The government shall respond to Fairlamb’s
pro se motion for compassionate release and any supplement or memorandum submitted through
counsel, by June 2, 2023.

Itis SO ORDERED.

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SIGNED this _& “ day of April, 2023. C Lalit
Royce C. Lamberth
United States District Judge
